
Fine Arts PT, P.C., as Assignee of Vertilus Lesly, Appellant, 
againstCountry-Wide Ins. Co., Respondent.




Petre and Zabokritsky, P.C. (Zachary Rozenberg, Esq.), for appellant.
Jaffe &amp; Koumourdas, LLP (Jean H. Kang, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Richard G. Latin, J.), entered December 3, 2014. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment and defendant cross-moved for summary judgment dismissing the complaint. By order entered December 3, 2014, the Civil Court denied plaintiff's motion and granted defendant's cross motion.
For the reasons stated in MT Servs. P.T., P.C., as Assignee of Richardson Steven v Country-Wide Ins. Co. (__ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2015-155 Q C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 22, 2017










